     Case 3:07-cr-00310-HEH Document 40 Filed 11/21/07 Page 1 of 4 PageID# 136




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION



UNITED STATES OF AMERICA,


                      Plaintiff


V.                                                      CASE NO. 3-.07CR310


SAEED GRANT,


                      Defendant.



         REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE


       This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(l)(B) and (b)(3) upon


the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and a written

plea agreement that has been entered into by the United States and the Defendant. The matter


was presented to the court upon the written consent of the Defendant and counsel for the


Defendant to proceed before a United States Magistrate Judge, said consent including the


Defendant's understanding that he consented to not only having the Magistrate Judge conduct the


hearing and enter any order of forfeiture, if applicable, but also to having the Magistrate Judge


make necessary findings and accepting any guilty plea as may be entered that could not be


withdrawn except for fair and just reason.


        The Defendant pled guilty to Count One of the superseding criminal Indictment in open


court and pursuant to a Rule 11 inquiry. Upon consideration of the responses and statements


made by the Defendant under oath, on the record, and based upon the written plea agreement and


statement of facts presented, the court makes the following findings:


        1.     That the Defendant is competent to enter a plea of guilty;
Case 3:07-cr-00310-HEH Document 40 Filed 11/21/07 Page 2 of 4 PageID# 137



  2.    That the Defendant understands the nature of the charge against him to which his

        plea is offered;

  3.    That the Defendant understands what the maximum possible penalties are upon

        conviction of the offense charged, including any mandatory minimum periods of

        confinement, the effect of any required term of supervised release, the loss of

        various civil rights (if applicable, including the right to vote, the right to hold

        public office, the right to own and possess a firearm), the possibility of adverse

        immigration consequences (if applicable), the required imposition of a special

        assessment, forfeiture of real and/or personal property (if applicable), and


        restitution (if applicable);


  4.    That the sentencing court has jurisdiction and authority to impose any sentence


        within the statutory maximums provided, but that the court will determine the

        defendant's actual sentence in accordance with 18 U.S.C. § 3553(a) and that the


        court, after considering the factors set forth in 18 U.S.C. § 3553(a), may impose a


        sentence above or below the advisory sentencing range, subject only to review by


        higher courts for reasonableness;


   5.   That the Defendant understands his right to persist in a plea of not guilty and


        require that the matter proceed to trial with all the rights and privileges attending a


         trial, including, but not limited to: the right to effective assistance of counsel; the


         right to use the power and processes of the court to compel the production of


         relevant evidence on the Defendant's behalf; the right to confront and cross-


         examine adverse witnesses; the right to present relevant evidence; the right to


         remain silent; and the right to trial by jury;
   Case 3:07-cr-00310-HEH Document 40 Filed 11/21/07 Page 3 of 4 PageID# 138



         6.      That the Defendant understands that he is waiving any right to appeal whatever

                 sentence is imposed by pleading guilty, even if the sentence is erroneous, as long

                 as said sentence does not exceed the total statutory penalties provided;

         7.      That the Defendant understands all provisions of the written plea agreement


                 which was reviewed in essential part with the Defendant during the proceeding;

         8.      That the plea of guilty entered by the Defendant was knowingly and voluntarily

                 entered and is not the result of force or intimidation of any kind; nor is it the result

                 of any promises other than the representations set forth in the plea agreement; and


         9.      That the plea of guilty entered by the Defendant was knowingly and voluntarily

                 made with full knowledge of the consequences and with an independent basis in


                 fact to support said plea.


         Accordingly, the court accepted the Defendant's plea of guilty to Count One of the

superseding criminal Indictment and entered judgment of guilt on the subject charge. It is


therefore the recommendation of this court that its findings, including the acceptance of the

Defendant's plea of guilt and resulting judgment of guilt, be adopted.


          Let the Clerk forward a copy of this report and recommendation to the Honorable Henry


E. Hudson and to counsel of record.


          It is so Ordered.




                                                                 /s/
                                                    Dennis W. Dohnal
                                                    United States Magistrate Judge

Dated:
      . NOV 2 1 2007
    Case 3:07-cr-00310-HEH Document 40 Filed 11/21/07 Page 4 of 4 PageID# 139



                                          NOTICE


       The Defendant is advised that he may file specific written objection to this report

and recommendation with the court within ten (10) days of this date. If objection is noted,

the party objecting must promptly arrange for the transcription of the relevant record and

file it forthwith with the court for its use in any review. Failure to object in accordance

with this notice, including the requirement for preparation of a transcription of the

relevant portions of the record, will constitute a waiver of any right to de novo review of the

matter and may result in adoption of the recommendation, including the finding of guilt as


entered by the magistrate judge.
